Case 1:10-cv-00210-PLFATTACHMENT       "I"11/15/10 Page 1 of 10
                       Document 74-1 Filed
                                                                  (16)
                      Part Two - Pages 16 - 25
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 2 of 10
                                                                   (17)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 3 of 10   (18)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 4 of 10   (19)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 5 of 10   (20)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 6 of 10   (21)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 7 of 10   (22)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 8 of 10
                                                                   (23)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 9 of 10 (24)
Case 1:10-cv-00210-PLF Document 74-1 Filed 11/15/10 Page 10 of 10   (25)
